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                          EXHIBIT 2
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AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                             District
                                                       __________     of Delaware
                                                                   District of __________

        FEENIX PAYMENT SYSTEMS, LLC, et al.                                    )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      1:20-cv-1519-MAK
       STEEL CAPITAL MANAGEMENT, LLC, et al.                                   )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                             Hill Country Hospitality LLC

                                                       (Name of person to whom this subpoena is directed)

       ✔
       ’ Testimony:   YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must promptly confer in good faith with the
party serving this subpoena about the following matters, or those set forth in an attachment, and you must designate one
or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about
these matters: See Schedule A

 Place: 1000 North King Street                                                         Date and Time:
           Wilmington, DE 19801                                                                             August 20, 2021

          The deposition will be recorded by this method:                     Stenographic Record

       ✔
       ’ Production:    You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material: See Schedule B.




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
                                   CLERK OF COURT
                                                                                         OR
                                                                                                               /s/ Ryan P. Newell
                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Steel Capital Management, LLC                                           , who issues or requests this subpoena, are:
Ryan P. Newell, Young Conaway Stargatt & Talyor, LLP 1000 N. King St., Wilmington, DE 19801; rnewell@ycst.com

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 1:20-cv-1519-MAK

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          ’ I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                  .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00    .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:




         Print                         Save As...                  Add Attachment                                         Reset
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AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A
                          TO SUBPOENA AD TESTIFICANDUM AND DUCES TECUM

                                              Definitions and Instructions

                     1.      The “Action” means the litigation pending in the United States District Court

             for the District of Delaware, captioned Feenix Payment Systems, LLC, et al. v. Steel Capital

             Management, LLC, et al., 2020-01519-MAK (D. Del.).

                     2.      “Feenix” means Feenix Payment Systems, LLC, Feenix Venture Partners,

             LLC, and any agents, attorneys, representatives, and all other persons acting on its behalf.

                     3.      “Lee” means Keith Lee and any agents, attorneys, representatives, and all

             other persons acting on his behalf.

                     4.       “SCM” means Steel Capital Management, LLC, Steel Payments, LLC and

             its employees, members, managers, representatives, and all other persons acting on its behalf,

             including Michael Hoffman and Marc Sehgal.

                     5.      “You,” or “Your,” or “Hill Country” means Hill Country Hospitality, LLC,

             including its representatives, partners, employees, officers, agents, shareholders,

             subsidiaries, affiliates, related entities, or anyone else acting on its or their behalf.

                     6.      The “Subpoena” means and refers to the Subpoena Ad Testificandum and

             Duces Tecum served on Hill Country in connection with this action dated August 6, 2021.

                     7.      “Concerning” means referring to, relating to, embodying, connected with,

             commenting on, responding to, showing, describing, analyzing, reflecting, evidencing or

             constituting.

                     8.      “Communications” includes written documents, oral conversations,

             conversations by telephone, electronic communications (including e-mail), meetings and any

             other exchange of information in any form.

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                    9.      “Documents” shall have the broadest meaning permitted under the Federal

             Rules of Civil Procedure and includes all originals, copies (if the originals are not available),

             non-identical copies (whether different from the original because of underlining, editing

             marks, notes made on or attached to such copy, or otherwise), and drafts of the requested

             documents or electronically stored information, whether preliminary, proposed, or final

             versions, including without limitation books, papers, writings, drawings, graphs, charts,

             photographs, sound recordings, images, electronic documents, e-mail, and other data or data

             compilations from which information can be obtained, either directly or, if necessary, after

             conversion by the responding party into a reasonably useful form. The term “electronically

             stored information” shall be afforded the broadest possible definition and shall include (by

             way of example and not as an exclusive list) any information stored electronically,

             magnetically or optically, including (by way of example and not as an exclusive list): (i)

             digital communications (e.g., e-mail, voicemail, instant messaging); (ii) word processed

             documents; (iii) spreadsheets and tables; (iv) accounting application data; (v) image and

             facsimile files (e.g., .pdf, .tiff, .jpg, .gif images); (vi) sound recording (e.g., .wav and .mp3

             flies); (vii) video and animation (e.g., .avi and .mov files); (viii) databases; (ix) contact and

             relationship management data; and (x) calendar and diary application data.

                    10.     The singular includes the plural and vice versa; the word “and” and “or” shall

             be both conjunctive and disjunctive; the word “all” means “any and all”; the word “any”

             means “any and all”; the word “including” means “including without limitation”; the word

             “he” or any other masculine pronoun includes any individual regardless of gender.

                    11.     “Person” means any individual, corporation, unincorporated association,

             partnership, lending institution, bank, joint venture, or any other entity, or any government


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             authority, department, or agency.

                    12.     The time period of this request, unless otherwise noted, is January 1, 2017 to

             the present.

                                            TOPICS FOR TESTIMONY

                    1.      All Communications between You and Feenix and/or Lee regarding SCM

             and/or Michael Hoffman or Marc Sehgal from January 1, 2019 to present.

                    2.      Your knowledge of Feenix’s business practices, including its business model

             and strategy, its structuring of its business and contracts, its strategy in employing financing

             terms with its portfolio companies, its marketing materials, its return, risk-tracking,

             performance tracking and pricing models, its customer base and portfolio companies, its

             payment processing services, and its growth capital investment strategy.

                    3.      Your access and use of confidential information in connection with any

             contemplated or actual transaction, loan, investment or agreement to provide payment

             processing services between You, on the one hand, and Feenix, on the other.

                    4.      Feenix’s identification or delivery of information or materials deemed

             confidential, proprietary or trade secrets in connection with any contemplated or actual

             transaction, loan, investment, or agreement to provide payment processing services between

             You, on the one hand, and Feenix, on the other.

                    5.      Any restrictions imposed on You by Feenix Concerning Your ability to use

             Feenix’s confidential information or any applicable agreement(s) between You and Feenix,

             regarding your use, non-disclosure, access, or dissemination of Feenix’s confidential

             information.




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                    6.      Any efforts undertaken by Feenix to prevent You from disclosing any

             information You received from Feenix, including, but not limited to, any written

             agreement(s) between You and Feenix, in connection with any contemplated or actual

             transaction, investment, or agreement to provide payment processing services between You,

             on the one hand, and Feenix, on the other.

                    7.      Your knowledge of the methodologies employed by Feenix in determining

             whether to provide a loan, investment or agreement to provide payment processing services,

             including Feenix’s underwriting strategy, portfolio company valuation, deal return modeling,

             risk monitoring, and whether these methodologies are unique to Feenix.

                    8.      Your knowledge Concerning the products or services offered by Feenix.

                    9.      Your knowledge Concerning the products or services offered by SCM.

                    10.     Your knowledge Concerning Feenix’s competitors, including those that offer

             the same or similar products or services.

                    11.     Your knowledge of the claims and defenses in the Action.




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                                         SCHEULE B TO SUBPOENA
                                   AD TESTIFICANDUM AND DUCES TECUM

                                                     DEFINITIONS

                     1.      The “Action” means the litigation pending in the United States District Court

             for the District of Delaware, captioned Feenix Payment Systems, LLC, et al. v. Steel Capital

             Management, LLC, et al., 2020-01519-MAK (D. Del.).

                     2.      “Feenix” means Feenix Payment Systems, LLC, Feenix Venture Partners,

             LLC, and any agents, attorneys, representatives, and all other persons acting on its behalf.

                     3.      “Lee” means Keith Lee and any agents, attorneys, representatives, and all

             other persons acting on his behalf.

                     4.      “SCM” means Steel Capital Management, LLC, Steel Payments, LLC and

             its employees, members, managers, representatives, and all other persons acting on its behalf,

             including Michael Hoffman and Marc Sehgal.

                     5.      “You,” or “Your,” or “Hill Country” means Hill Country Hospitality, LLC

             including its representatives, partners, employees, officers, agents, shareholders, affiliates,

             subsidiaries, related entities, or anyone else acting on its or their behalf.

                     6.      The “Subpoena” means and refers to the Subpoena Ad Testificandum and

             Duces Tecum served on Hill Country in connection with this action dated August 6, 2021.

                     7.      “Concerning” means referring to, relating to, embodying, connected with,

             commenting on, responding to, showing, describing, analyzing, reflecting, evidencing or

             constituting.




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                    8.      “Communications” includes written documents, oral conversations,

             conversations by telephone, electronic communications (including e-mail), meetings and any

             other exchange of information in any form.

                    9.      “Documents” shall have the broadest meaning permitted under the Federal

             Rules of Civil Procedure and includes all originals, copies (if the originals are not available),

             non-identical copies (whether different from the original because of underlining, editing

             marks, notes made on or attached to such copy, or otherwise), and drafts of the requested

             documents or electronically stored information, whether preliminary, proposed, or final

             versions, including without limitation books, papers, writings, drawings, graphs, charts,

             photographs, sound recordings, images, electronic documents, e-mail, and other data or data

             compilations from which information can be obtained, either directly or, if necessary, after

             conversion by the responding party into a reasonably useful form. The term “electronically

             stored information” shall be afforded the broadest possible definition and shall include (by

             way of example and not as an exclusive list) any information stored electronically,

             magnetically or optically, including (by way of example and not as an exclusive list): (i)

             digital communications (e.g., e-mail, voicemail, instant messaging); (ii) word processed

             documents; (iii) spreadsheets and tables; (iv) accounting application data; (v) image and

             facsimile files (e.g., .pdf, .tiff, .jpg, .gif images); (vi) sound recording (e.g., .wav and .mp3

             flies); (vii) video and animation (e.g., .avi and .mov files); (viii) databases; (ix) contact and

             relationship management data; and (x) calendar and diary application data.

                    10.     The singular includes the plural and vice versa; the word “and” and “or” shall

             be both conjunctive and disjunctive; the word “all” means “any and all”; “he” or any other

             masculine pronoun includes any individual regardless of gender.


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                    11.        “Person” means any individual, corporation, unincorporated association,

             partnership, lending institution, bank, joint venture, or any other entity, or any government

             authority, department, or agency.

                    12.        “Requests” shall mean the Requests for Documents identified in Schedule B

             to this Subpoena Duces Tecum.

                    13.        The time period of the Requests, unless otherwise noted, is January 1, 2017

             to the present.

                                                     INSTRUCTIONS

                    1.         Each Request shall be inclusive, rather than exclusive. Accordingly, the

             words “and,” as well as “or” shall be construed disjunctively or conjunctively as necessary,

             in order to bring within the scope of these Requests all information that might otherwise be

             construed to be outside their scope. Including shall be construed to mean without any

             limitation. The word “all” includes any and vice versa. The past tense shall include the

             present tense and the present tense shall include the past tense. The singular shall be deemed

             to include the plural and vice versa.

                    2.         A Request for a document shall be deemed to include a request for any non-

             identical copies or drafts of such documents, as well as all transmittal sheets, cover letters,

             exhibits, enclosures or attachments to the document, in addition to the document itself.

                    3.         The documents sought in these requests are to be produced either as they are

             kept in the usual course of business, or organized and labeled to correspond with the

             categories in the request; in either case, the documents are to be produced with corresponding

             electronically stored information, including all available metadata fields.




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                    4.      Document production should be made in the form of both native files for each

             document as well as single page tiffs and corresponding load files compatible with standard

             electronic document review platforms.

                    5.      Each document produced pursuant to these requests shall be produced in a

             manner that clearly identifies the source, location, and/or origin of said document.

                    6.      Each request seeks production of each document in its entirety, without

             abbreviation or redaction, and all drafts and non-identical copies of each document,

             including, but not limited to, all attachments, actual proposed contemplated envelopes,

             transmittal sheets, “post it notes,” notes, cover letters, exhibits, and enclosures.

                    7.      Where a document has text or other markings of any kind on its reverse, both

             sides of the document are to be produced.

                    8.      Documents that have markings in any color other than black or grayscale are

             to be produced in full color.

                    9.      Each Request shall be construed according to its own terms, subject to these

             Definitions and Instructions. Although some of the Requests may overlap with others, no

             Request should be read as limiting any other.

                    10.     When a document is responsive to more than one specific request, only one

             identical copy of the document need be produced.

                    11.     If it is not possible to produce any document called for by this Request, or if

             any part of this Request is objected to, the reasons for the failure to produce the documents

             or the objection should be stated specifically as to all grounds.




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                    12.     If a document responsive to any request is no longer in your possession,

             custody or control, state what disposition was made of the document and the date of such

             disposition, and identify all persons having knowledge of the document’s contents.

                    13.     If any document responsive to any requests has been destroyed, set forth the

             content of said document, the location of any copies of said document, the date of such

             destruction and the name of the person who destroyed the document or ordered or authorized

             such destruction.

                    14.     If any document responsive to any of these Requests is claimed to be

             privileged, or if any of these Requests are otherwise objected to, then the basis for the claim

             of privilege or objection shall be stated, and if privilege is claimed or objection made to part

             of a Request, the party shall be specified, the grounds for the objection or claim of privilege

             shall be identified, and the remaining responsive documents shall be provided.

                    15.     If you claim any form or privilege or protection or other reason, whether

             based on statute or otherwise, as a ground for not producing requests documents, furnish a

             list identifying each document for which the privilege or protection is claimed, together with

             the following information: Date; length; sender; recipient and persons to whom copies were

             furnished, together with their job titles; subject matter; basis on which the document is

             withheld; and the paragraph of the requests to which such document(s) responds.

                    16.     You are instructed to produce Documents in response to the Requests within

             fourteen days of service of this Subpoena Duces Tecum, or by August 20, 2021.




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                                          REQUESTS FOR DOCUMENTS

                    1.      All Documents and Communications between You and Feenix and/or Lee

             regarding SCM and/or Michael Hoffman or Marc Sehgal from January 1, 2019 to present.

                    2.      All Documents and Communications Concerning Your knowledge of

             Feenix’s business practices, including its business model and strategy, its structuring of its

             business and contracts, its strategy in employing financing terms with its portfolio

             companies, its marketing materials, its return, risk-tracking, performance tracking and

             pricing models, its customer base and portfolio companies, its payment processing services,

             and its growth capital investment strategy.

                    3.      All Documents and Communications Concerning Your access and use of

             confidential information in connection with any contemplated or actual transaction, loan,

             investment, or agreement to provide payment processing services between You, on the one

             hand, and Feenix, on the other.

                    4.      All Documents and Communications Concerning Feenix’s identification or

             delivery of information or materials as confidential, proprietary or trade secrets in connection

             with any contemplated or actual transaction, loan, investment, or agreement to provide

             payment processing services between You, on the one hand, and Feenix, on the other.

                    5.      All Documents and Communications Concerning any restrictions imposed on

             You by Feenix Concerning Your ability to use Feenix’s confidential information or any

             applicable agreement(s) between You and Feenix, regarding your use, non-disclosure,

             access, or dissemination of Feenix’s confidential information.

                    6.      All Documents and Communications Concerning any efforts undertaken by

             Feenix to prevent You from disclosing any information You received from Feenix


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             Concerning, including, but not limited to, any written agreement(s) between You and Feenix,

             in connection with any contemplated or actual transaction, investment, or agreement to

             provide payment processing services between You, on the one hand, and Feenix, on the

             other.

                      7.    All Documents and Communications Concerning Your knowledge of the

             methodologies employed by Feenix in determining whether to provide a loan, investment or

             agreement to provide payment processing services, including Feenix’s underwriting strategy,

             portfolio company valuation, deal return modeling, risk monitoring, and whether these

             methodologies are unique to Feenix.

                      8.    All Documents and Communications Your knowledge Concerning the

             products or services offered by Feenix, including Documents indicating that such

             information regarding products or services is confidential, proprietary or a trade secret.

                      9.    All Documents and Communications Concerning Feenix’s competitors,

             including those that offer the same or similar products or services.

                      10.   All Documents and Communications Concerning Your knowledge

             Concerning the products or services offered by SCM.

                      11.   All Documents and Communications Concerning Your knowledge of the

             claims and defenses in the Action.




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